Case 2:05-cv-O2067-.]DB-dkv Document 12 Filed 07/06/05 Page 1 o_f 2 Page|D 21

 

IN THE UNITED STATES DISTRICT coURT w WLQQY.LB.B`.
wESTERN DISTRICT oF TENNESSEE .
wESTERN DIVISION BS.NL -6 PH h:.l,g
AMERICOACH TOURS, INC., U,S .TFET _
W OF?N,.*¢"'£`MP|'IS
Plaintiff,
vs. No. 05-2067-Mav

DETROIT DIESEL CORP., ET AL.,

Defendants.

 

ORDER OF TRANSFER

 

On May 13, 2005, Magistrate Judge Diane Vescovo entered an
order consolidating this case with a related case pending before
District Judge J. Daniel Breen. The above-styled case is
therefore transferred to Judge J. Daniel Breen in exchange for an
equivalent case. The parties shall, on all pleadings and
correspondence related to this matter, change the judge's
initials in the case number from “Ma” to “B.”

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It is so ORDERED this 3a day of June, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CV-02067 Was distributed by faX, mail, or direct printing on
July 14, 2005 to the parties listed.

 

W. Timothy Hayes

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

Jeffrey K. Fleishmann

WYATT TARRANT & CO1\/113S7 LLP- Memphis
1715 Aaron Brenner Dr.

Ste. 800

1\/1emphis7 TN 38120

Alan B. Easterly

LEITNER WILLIAMS DOOLEY & NAPOLITAN
801 Broad St.

Third Floor

Chattanooga, TN 37402--262

Robert L. Crawford

WYATT TARRANT & CO1\/[BS
P.O. Box 775000

1\/1emphis7 TN 38177--500

Honorable Samuel Mays
US DISTRICT COURT

